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VANN, J., reads for affirmance.
All concur, except BRADLEY and HAIGHT, JJ., not sitting.
Judgment affirmed.